         i Case 2:08-cr-00269-JCM-RJJ       Document 106    Filed 05/12/10       Page 1 of 1
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     7                                     DISTR ICT O F N EVA DA
     8 UNITED STATESOF AM ERICA,                       )
                                                       )
     9                        Plaintiff,               )
!   10           v.                                    )           2:O8-CR-269-JCM (RJJ)
j                                                      )
    11 M ARCO ANTONIO-SANCHEZ,                         )
       akaM arco Smzchez-urquidez,                     )                                                         p
    12                                                 )
                                                       )
l
i   13                        Defendant.               )
    14                             FINAL ORDER OF FORFEITURE AS TO
            DEFENDANT M ARCO ANTONIO-SANCHEZ AlfA MARCO SANCHEZ-URQUIDEZ
    15
    16           On February 1O,2010,thisCourtentered aPrelim inaryOrderofForfeiturepursuantto Title
    17 l8,UnitedStatesCode,Section924(d)(1)andTit1e28,UnitedStatesCode,Sectionz46ltc)forfeiting
    18 propertyofdefendantM ARCO AN TONIO-SANCHEZ, akaM arco Sanchez-urquideztotheUnited
    19 StatesofAmerica;
    20           IT IS HEREBY ORDERED,ADJUDGED,AND DECREED pursuantto Fed. R.Crim .P

    21 32.2(b)(4)(A)and(B)thattheforfeimreofthepropertynamedinthePreliminaryOrderofForfeiture
    22    isfinalasto defendantM    CO ANTONIO-SANCHEZ, aka M arco Sanchez-urquidez.

    23           DATED this1       rdayof                      ,   2010.                                         ,
    24
    25                                                                lC                a.              '--
                                                  UN       STATES DISTRICT JUDGE
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